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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Delyn McKenzie−Lopez, et al.
                                       Plaintiff,
v.                                                        Case No.: 1:16−cv−10791
                                                          Honorable Sara L. Ellis
City Of Chicago
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, January 26, 2017:


        MINUTE entry before the Honorable Sara L. Ellis: Motion hearing held on
1/26/2017. Motion to dismiss for failure to state a claim [19] is denied as moot. Motion
for leave to file excess pages [21] is denied as moot. Mailed notice(rj, )




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